









Dismissed and Opinion filed September 12, 2002









Dismissed and Opinion filed September 12, 2002.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00309-CV

____________

&nbsp;

DIMITRIOS BABARAKOS, Appellant

&nbsp;

V.

&nbsp;

THEOFILOS GARDIAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the County Civil Court at Law No. 4

Harris
County, Texas

Trial
Court Cause No. 712,108

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment
signed February 25, 2002.

On September 5, 2002, appellant filed a motion to dismiss
because he no longer desires to prosecute the appeal.&nbsp; See Tex.
R. App. P. 42.1.&nbsp; The motion is
granted. 

Accordingly, the appeal is ordered dismissed.&nbsp; 

PER CURIAM

Judgment rendered and Opinion
filed September 12, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R. App. P. 47.3(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





